Case 2:18-cv-00400-JHS Document 13 Filed 05/09/18 Page 1 of 5

APPENDIX X

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HENRY RUBY CIVIL ACTION
Vv.
DISH NETWORK L.L.C. NO, 2:18-0v-00400-JHS
ORDER
AND NOW, this Day of : . itis hereby

ORDERED that the application of Benjamen E. Kern , Esquire, to practice in this

court pursuant to Local Rule of Civil Procedure 83.5.2(b) is
[-]_ GRANTED.

_[-] DENIED.

Case 2:18-cv-00400-JHS Document 13 Filed 05/09/18 Page 2 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Civil Action No# 2:18-cv-00400-JHS

APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT PURSUANT TO
LOCAL RULE OF CIVIL PROCEDURE 83,5,2(b)

L APPLICANT'S STATEMENT

1, Benjamen bk. Kern the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and | hereby apply for admission to practice in this court
pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number , for the $40.00 admission

fee.

A. | state that ] am currently admitted to practice in the following state jurisdictions:
Ohio 11/10/2003 0076218

(State where admitted) (Admission date) (Attorney Identification Number)

Texas 09/26/2013 24086853

(State where admitted) (Admission date) (Attorney Identification Number)

Tennessee 10/20/2015 034095

(State where admitted) (Admission date)

(Attorney Identification Number)

B. | state that | am currently admitted to practice in the following federal jurisdictions: See attached for remainder of list.
USDC, SD OH 07/09/2004

(Court where admitted) (Admission date) (Attorney Identification Number)

USDC, ND OH 08/16/2004

(Court where admitted) (Admission date) (Attorney Identification Number)

05/09/2005
(Admission date)

USCOA, Sixth Cir.
(Court where admitted)

(Attorney Identification Number)

Cc. i state that 1 am at present a member of the aforesaid bars in good standing, and that | will demean myself as an attorney of
this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

DISH Network L.L.C.

Le, Con

(Applicant’s Signature)

/ am entering my appearance for

05/09/2018
(Date)

APPLICANT'S FIRM NAME / ADDRESS / TELEPHONE NUMBER:
Benesch, Friedlander, Coplan & Aronoff LLP
41 South High Street, Suite 2600, Columbus, OH 43215-6164
(614) 223-9300

Sworn and subscribed before me this

\/ZS)\ GREGRIE A. WILLSON
<°\ Notary Public, State of Ohio
it |My Commission Expires
May 25, 2021
(Recorded in Lorain County)

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Notary Public 2/4

10/04
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[I]. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

The undersigned member of the bar of the United States District Court for the Eastern
District of Pennsylvania hereby moves for the admission of ____ Benjamen E. Kern to
practice in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or
after reasonable inquiry believe) that the applicant is a member in good standing of the above-
referenced state and federal courts and that the applicant’s private and personal character is good. I
certify that this application form was on this date mailed, with postage prepaid, to all interested

counsel.
Jennifer R. Hoover CA (| \ 12/14/2001 87910
Sponsor’s Name Sponsor's Signature Admission date Attorney

Identification No.

SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

Benesch, Friedlander, Coplan & Aronoff LLP, Telephone - 302-442-7006

222 Delaware Avenue, Suite 801

Wilmington, Delaware 19801

WEY
Sworn and subscribed before me this on. cay,

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HENRY RUBY CIVIL ACTION

¥.

DISH NETWORK L.L.C,
NO, 2:18-cv-00400-JHS

CERTIFICATE OF SERVICE

{ declare under penalty of perjury that a copy of the application of ____ Benjamen E. Kem

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant

proposed Order which, if granted, would permit such practice in this court was served as follows:

by using the ECF system to: Amy L.B. Ginsburg, teamkimmel@creditlaw.com

Kimmel & Silverman, P.C.

30 E. Butler Pike, Ambler, PA 19002

tty)

Si gnatyre of Attorney
\

Jennifer R. Hoover

Name of Attorney

Defendant DISH Network
Name of Moving Party

5] TWlayv

Date

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COURT DATE OF ADMISSION
USTOA, Federal Circuit OT/T372009
USDC, District of Colorado [2/01/7201]
USDC, Northern District of Texas 02/11/2014
USCOA, Fourth Circuit TT/18/20T4
USDC, Eastern District of Texas [2708/2014
USCOA, Fifth Circuit [2/29/2014
USDC, Western District of Tennessee 04/29/2016

